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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-298-CV



IN RE CECIL DARRELL LONG 	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that the petition should be dismissed as moot. &nbsp;Accordingly, relator’s petition for writ of mandamus is dismissed as moot.



PER CURIAM





PANEL: &nbsp;CAYCE, C.J.; LIVINGSTON and GARDNER, JJ. 



DELIVERED: &nbsp;October 2, 2009 &nbsp;

FOOTNOTES
1:See
 Tex. R. App. P. 
47.4.




